Case 5:20-mj-00564-DUTY Document 8 Filed 10/23/20 Page 1 of 2 Page ID #:20



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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )       Case No.: 5:20-MJ-564-DUTY
11                                          )
                        Plaintiff,          )       ORDER OF DETENTION PENDING
12                                          )       FURTHER REVOCATION
              v.                            )       PROCEEDINGS
13   JOSEPH ANTHONY IBARRA,                 )       (FED. R. CRIM. P. 32.1(a)(6); 18
                                            )       U.S.C. § 3143(a)(1))
14                                          )
                        Defendant.          )
15                                          )
16         The defendant having been arrested in this District pursuant to a warrant
                                                       Southern
17 issued by the United States District Court for the _______________ District of
   California
18 ______________ for alleged violation(s) of the terms and conditions of probation
19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (x )    The defendant has not met his/her burden of establishing by clear and
23            convincing evidence that he/she is not likely to flee if released under 18
24            U.S.C. § 3142(b) or (c). This finding is based on the following:
25            ( x)   information in the Pretrial Services Report and Recommendation
26            ( x)   information in the violation petition and report(s)
27            ( )    the defendant’s nonobjection to detention at this time
28            ( )    other:


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 1           and/ or
 2 B. ( x)   The defendant has not met his/her burden of establishing by clear and
 3           convincing evidence that he/she is not likely to pose a danger to the safety
 4           of any other person or the community if released under 18 U.S.C.
 5           § 3142(b) or (c). This finding is based on the following:
 6           (x )    information in the Pretrial Services Report and Recommendation
 7           ( x)    information in the violation petition and report(s)
 8           ( )     the defendant’s nonobjection to detention at this time
 9           ( )     other:
10
11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
13
14 Dated: 10/23/20                          ____________________ _____________
                                            SHASHI H. KEWALRAMANI
15                                          UNITED STATES MAGISTRATE JUDGE
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